                         Case 05-42367         Doc 14      Filed 02/10/06       Page 1 of 1

Form fnldec (10/05)


                              UNITED STATES BANKRUPTCY COURT
                                       District of Maryland
                                                Baltimore Division
                                         101 West Lombard Street, Ste. 8303
                                              Baltimore, MD 21201

                                   Case No.: 05−42367          Chapter: 7

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Scott Caruthers                                          Dashielle Lashra Caruthers
   debtor has no known aliases                              debtor has no known aliases
   5014 Mt. Carmel Rd                                       5014 Mt. Carmel Rd
   Hampstead, MD 21074                                      Hampstead, MD 21074
   Social Security No.: xxx−xx−2831                         xxx−xx−0570
   Employer's Tax I.D. No.:

Petition for Relief under Chapter 7 of Title 11, U.S. Code, filed by or against the above−named Debtor(s) on 10/15/05



                                                FINAL DECREE

The estate of the above−named debtor(s) has been fully administered.


IT IS ORDERED THAT:

Brian A. Goldman is discharged as trustee of the estate of the above−named debtor and the bond is cancelled; and the
chapter 7 case of the above named debtor is closed.


Dated: 2/10/06

                                                            Duncan W. Keir
                                                            U.S. Bankruptcy Judge
